  8:12-cr-00311-JFB-MDN           Doc # 693   Filed: 06/25/14   Page 1 of 1 - Page ID # 1688




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA

                     Plaintiff,                                 8:12CR311

       vs.
                                                                  ORDER
DANIEL ESPINOZA,

                     Defendant.


       This matter came on for hearing on June 25, 2014, on Defendant’s request for release
to inpatient treatment at Williams Prepared Place.
       IT IS ORDERED as follows:
       The Defendant shall be released from custody on June 26, 2014, at 9:00 a.m. so that
he can be admitted that same day to Williams Prepared Place, 3525 Evans Street, Omaha,
Nebraska.
       The Defendant shall be released from custody on the condition that he immediately
enter such program and remain in and follow all of the requirements of such program.
       The Defendant shall execute all necessary release forms to allow his Probation Officer
to communicate with the Defendant’s counselors and mental health therapists affiliated with
Williams Prepared Place.
       The Defendant shall comply with all subsequent recommendations for any aftercare or
halfway house placements following completion of inpatient treatment.
       The Defendant shall comply with all previously ordered conditions of probation.
       Should the Defendant be discharged from the program for any reason, or otherwise
violate any condition or this order, or the previously set conditions of supervised release, then
a warrant shall issue for his arrest.
       IT IS TO ORDERED.
       Dated this 25th day of June, 2014.

                                                 BY THE COURT:
                                                 Joseph F. Bataillon
                                                 United States District Judge
